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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JUSTIN MOHN : CIVIL ACTION

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v. NO, 23-2653

UNITED STATES OF AMERICA

ORDER
AND NOW, this 6" day of December 2023, upon reviewing the United States’ Motion to
dismiss (ECF No. 22), Plaintiff's Opposition (ECF No. 27), and for reasons in today’s
accompanying Memorandum, it is ORDERED;
1, The United States’ Motion to dismiss (ECF No. 22) is GRANTED requiring we
dismiss with prejudice as Plaintiff has now been twice advised he cannot plead a negligence claim
based upon a non-existent duty of the United States as a lender on a student loan program; and,

2, The Clerk of Court shail close this case.

KEARNEY J.

